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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


WILLIAM ACKER, MICHAEL                                  Case No.
AMENDOLA, AIDEN ANKLI, LYRA
BUTLER-DENMAN, TENARA CALEM,                            CLASS ACTION COMPLAINT
TYLER CATANELLA, GRAHAM COOK,
RYANN COOPER, ELIZABETH                                 JURY TRIAL DEMANDED
FEINSCHREIBER, FRANCIS GORMLEY,
MIRANDA KRAMER, ARIANNA
OLIVIERI, DEREK SMITH, and EVA
SOLANO, individually and on behalf of all
others similarly situated,

       Plaintiffs,

                v.

THE UNIVERSITY OF THE ARTS,

       Defendant.


       This class action complaint is brought by Plaintiffs William Acker, Michael Amendola,

Aiden Ankli, Lyra Butler-Denman, Tenara Calem, Tyler Catanella, Graham Cook, Ryann Cooper,

Elizabeth Feinschreiber, Francis Gormley, Miranda Kramer, Arianna Olivieri, Derek Smith, and

Eva Solano (“Plaintiffs”), individually and on behalf of all others similarly situated (“Class”),

against Defendant The University of the Arts (“Defendant” or the “University”). The allegations

set forth below are based on personal knowledge as to Plaintiffs’ own acts and on investigation

conducted by counsel as to all other allegations.

                                            PARTIES

       1.       Plaintiff William Acker is a citizen and resident of Pennsylvania.

       2.       Plaintiff Michael Amendola is a citizen and resident of Pennsylvania.

       3.       Plaintiff Aiden Ankli is a citizen and resident of Pennsylvania.



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        4.       Plaintiff Lyra Butler-Denman is a citizen and resident of Pennsylvania.

        5.       Plaintiff Tenara Calem is a citizen and resident of Pennsylvania.

        6.       Plaintiff Tyler Catanella is a citizen and resident of Pennsylvania.

        7.       Plaintiff Graham Cook is a citizen and resident of Pennsylvania.

        8.       Plaintiff Ryann Cooper is a citizen of Maryland and resident of Pennsylvania.

        9.       Plaintiff Elizabeth Feinschreiber is a citizen of Massachusetts and resident of

Pennsylvania.

        10.      Plaintiff Francis Gormley is a citizen and resident of Pennsylvania.

        11.      Plaintiff Miranda Kramer is a citizen and resident of Pennsylvania.

        12.      Plaintiff Arianna Olivieri is a citizen of Italy and a resident of Pennsylvania.

        13.      Plaintiff Derek Smith is a citizen of Rhode Island and resident of Pennsylvania.

        14.      Plaintiff Eva Solano is a citizen and resident of Pennsylvania.

        15.      Defendant The University of the Arts is a private university organized as a

Pennsylvania nonprofit corporation with its principal place of business in Philadelphia,

Pennsylvania. Defendant is a citizen of Pennsylvania.

                                  JURISDICTION AND VENUE

        16.      This Court has subject-matter jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, (2) the action is a class action, (3) there are Class

members who have diverse citizenship from Defendant, and (4) there are more than 100 Class

members.

        17.      This Court has general personal jurisdiction over Defendant because Defendant is

a citizen of this state and has its principal place of business in this state.



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        18.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) & (2) because

Defendant is a resident of this district and because a substantial part of the events or omissions

giving rise to Plaintiff’s claims occurred in this district.

                                      FACTUAL ALLEGATIONS

    I. The University of the Arts

        19.      The University of the Arts is an arts university in Philadelphia, Pennsylvania

offering undergraduate and graduate degrees in art, dance, design, film, music, and theater. 1

        20.      The University has about 1,300 students, 77 full-time faculty, and hundreds of full-

time and part-time employees in total. 2

        21.      Full-time tuition to the University is $54,010.

        22.      As of May 31, 2024, the University was accepting applications for admissions and

allowing students to enroll for the upcoming semesters.

        23.      As of May 31, 2024, the University was accredited by the Middle States

Commission on Higher Education (“MSCHE”) and the National Association of Schools of Music

(“NASM”). 3

    II. Accreditation Standards

        24.      MSCHE has specific standards that institutions must meet to be accredited. Those

standards include 4:

                 [H]onesty and truthfulness in public relations announcements,
                 advertisements, recruiting and admissions materials and practices,
                 as well as in internal communications;

                                                        ...


1
  https://www.uarts.edu/about/quick-facts
2
  Id.
3
  Id.
4
  https://www.msche.org/standards/fourteenth-edition/

                                                        3
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    compliance with all applicable government laws and regulations and
    Commission policies and procedures, including but not limited to:

       a. required information for students and the public;

       b. representation of accreditation status;

       c. full disclosure of information on institution-wide
          assessments, graduation, retention, certification and
          licensure or licensing board pass rates;

       d. institution’s compliance with             the   Commission’s
          Requirements of Affiliation;

       e. verification of student        identity    in   distance   and
          correspondence education;

       f. substantive changes affecting institutional mission, goals,
          programs, operations, sites, and other material issues which
          must be disclosed in a timely and accurate fashion;

                                   ...

    clearly documented and communicated planning and improvement
    processes that provide for inclusive constituent participation;

                                   ...

    a financial planning and budgeting process that is aligned with the
    institution’s mission and goals, evidence-based, and clearly linked
    to the institution’s and units’ strategic plans/objectives;

                                   ...

    documented financial resources, funding base, and plans for
    financial development, including those from any related entities
    adequate to support its educational purposes and programs and to
    ensure financial stability;

                                   ...

    a record of responsible fiscal management, including preparing a
    multi-year budget and an annual independent audit confirming
    financial viability and proper internal financial controls, with
    evidence of corrective measures taken to address any material
    findings cited in the audit or an accompanying management letter;

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                                                     ...

                 strategies to measure and assess the adequacy and efficient
                 utilization of institutional resources required to support the
                 institution’s mission and goals; and

                                                     ...

                 periodic assessment of the effectiveness of planning, resource
                 allocation, institutional renewal processes, and availability of
                 resources. 5

        25.      MSCHE also requires that institutions submit for approval a “teach-out” plan

whenever the institution is at risk of closing or if requested by the MSCHE. 6

        26.      Teach-out plans “ensure the equitable treatment of students upon the occurrence of

certain events or circumstances.” 7

        27.      A teach-out plan provides students with options to transfer to another institution in

case their current institution closes. 8

        28.      MSCHE requires institutions “to provide early notification of a potential

circumstance requiring a teach-out plan.” 9

        29.      Pennsylvania law also requires that State Board of Private Licensed Schools be

notified 30 days in advance if a school intends to close. 22 Pa. Code § 73.95(a).

    III. Announcement of the Closure

        30.      According to MSCHE’s public record of its review actions involving the

University, on May 30, 2024, MSCHE stated the following:

                 Staff acted on behalf of the Commission to request a supplemental
                 information report, due May 30, 2024, by 12:00 p.m. ET, providing
                 an update on the status of the institution. To require that the

5
  Id.
6
  https://msche.box.com/shared/static/zc0xbcz32x4xv7adrtv75mftpyulojfr.pdf
7
  Id.
8
  Id.
9
  Id.

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                    institution complete and submit for approval, by June 7, 2024, a
                    comprehensive, implementable teach-out plan and signed teach-out
                    agreements with appropriate teach-out partner institutions (Teach-
                    Out Plans and Agreements Policy and Procedures). In accordance
                    with Commission policy and federal regulations, the teach-out plan
                    must provide for the equitable treatment of students to complete
                    their education or transfer to another institution. To note the
                    Commission may reject the teach-out plan and require resubmission
                    if all of the required information is not provided. To remind the
                    institution and the governing body of its obligation to inform the
                    Commission immediately about any and all significant
                    developments relevant to this action and to make freely available to
                    the Commission accurate, fair, and complete information on all
                    aspects of the institution and its operations to all constituents. 10

           31.      According to MSCHE’s review of the University, on May 31, 2024, MSCHE stated

the following:

                    To acknowledge receipt of the institution's notification on
                    Wednesday, May 29, 2024, regarding the status of the institution
                    and unplanned, imminent closure. To note that the institution failed
                    to inform the Commission of closure in a timely manner or to
                    properly plan for closure with prior approval through substantive
                    change. To require immediate notification to the Commission
                    verifying the date of closure of the institution by email to
                    actions@msche.org. To take an immediate adverse action to
                    withdraw accreditation from University of the Arts effective June 1,
                    2024. To note that the Commission has determined that an
                    immediate adverse action is necessary because the institution has
                    not complied with the Commission's procedures, requests for
                    written reports, teach-out plan, or other information, specifically (1)
                    the institution is not in compliance with Standard I (Mission and
                    Goals), Standard II (Ethics and Integrity), Standard III (Design and
                    Delivery of the Student Learning Experience), Standard IV (Support
                    of the Student Experience), Standard V (Educational Effectiveness
                    Assessment), Standard VI (Planning, Resources, and Institutional
                    Improvement), Standard VII (Governance, Leadership, and
                    Administration), and Requirement of Affiliation 2; (2) the
                    institution has failed to ensure all communications with constituents,
                    regulatory agencies, and the Commission comply with the
                    Communication in the Accreditation Process Policy and Procedures;
                    (3) the institution has failed to obtain prior approval for closure
                    through the Substantive Change Policy and Procedures; (4) the
                    institution has not met the requirements of the Commission's Public

10
     https://www.msche.org/institution/0549/

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    Disclosures Policy and Procedures; (5) the institution has failed to
    demonstrate that it can provide a quality student learning experience
    (Accreditation Actions Policy and Procedures); (6) the institution
    has failed to demonstrate the capacity to make required
    improvements (Accreditation Actions Policy and Procedures); (7)
    the institution has failed to demonstrate that it can sustain itself in
    the short or long term (Accreditation Actions Policy and
    Procedures); (8) the institution has failed to demonstrate that it has
    documented financial resources, funding base, and plans for
    financial development (Standard VI); and (9) the institution is in
    imminent danger of closing (Accreditation Actions Policy and
    Procedures). This decision is based on the institution's current non-
    compliance and accreditation activities, including the institution's
    notification of closure dated May 29, 2024; the supplemental
    information report submitted after the 12:00 p.m., May 30, 2024,
    deadline, and subsequent communications and correspondence of
    record between the institution and the Commission. These
    institutional reports and responses have failed to document that the
    institution has achieved and can sustain ongoing compliance with
    the Commission's standards for accreditation, requirements of
    affiliation, policies and procedures, and applicable federal
    regulatory requirements, including Standard I (Mission and Goals),
    Standard II (Ethics and Integrity), Standard III (Design and Delivery
    of the Student Learning Experience), Standard IV (Support of the
    Student Experience), Standard V (Educational Effectiveness
    Assessment), Standard VI (Planning, Resources, and Institutional
    Improvement), Standard VII (Governance, Leadership, and
    Administration), Requirement of Affiliation 2, Accreditation
    Actions Policy and Procedures, Communication in the
    Accreditation Process Policy and Procedures, Public Disclosures
    Policy and Procedures, Substantive Change Policy and Procedures,
    and Teach-Out Plans and Agreements Policy and Procedures. To
    note that any adverse action is subject to appeal in accordance with
    the Commission's Appeals from Adverse Actions Procedures. To
    direct the institution to immediately (1) notify all constituents of the
    immediate withdrawal of accreditation; (2) notify the University of
    the Arts community, including all governing board members,
    students, faculty, staff, and others with significant roles, of the status
    of the institution; (3) provide accurate information regarding the
    institution's accreditation status with MSCHE on its website and
    wherever accreditation is referenced on the institution's web pages,
    publications, announcements, and in all other appropriate places and
    venues; (4) complete and issue transcripts at no cost to all students
    wishing to transfer to another institution; (5) enter into signed teach-
    out agreements; (6) identify a repository for student and institutional
    records so that students and alumni will be able to obtain accurate

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                 and complete transcripts in the future; and (7) report accurate, fair,
                 and complete information on all aspects of the institution and its
                 operations in a manner that allows the Commission to carry out its
                 accrediting responsibilities (Accreditation Actions Policy and
                 Procedures, Communication in the Accreditation Process Policy and
                 Procedures, Public Disclosures Policy and Procedures, Substantive
                 Change Policy and Procedures, and Teach-Out Plans and
                 Agreements Policy and Procedures). To remind the institution that
                 it must complete and submit for approval, by June 7, 2024, a
                 comprehensive, implementable teach-out plan and signed teach-out
                 agreements with appropriate teach-out partner institutions (Teach-
                 Out Plans and Agreements Policy and Procedures). The teach-out
                 plan must include evidence that the institution immediately made
                 required notifications and disclosures. To note that if the institution
                 is not operational with students actively enrolled in its degree
                 granting programs in violation of Requirement of Affiliation 2, the
                 Commission will consider the institution closed and terminate any
                 pending appeal. To note that if the Commission determines that the
                 institution has violated any other Commission policies and
                 procedures, standards for accreditation, requirements of affiliation,
                 or applicable federal regulatory requirements, the Commission will
                 take additional action. To note all final adverse actions are subject
                 to the arbitration requirements in the Commission's Arbitration of
                 Disputes Concerning Final Adverse Actions Procedures and federal
                 regulation 34 CFR §602.20(e). To note that accreditation will cease
                 on June 1, 2024. 11

        32.      MSCHE’s statements reveal that the University had failed to meet MSCHE

standards for accreditation and that the University made the abrupt decision to close—and

informed MSCHE of this decision—on May 29, 2024. 12

        33.      On Friday, May 31, 2024, at approximately 6:00 PM, local news media announced

that the University was closing permanently on June 7, 2024. 13

        34.      The University attributed the abrupt closure to an “urgent crisis” but offered no

further detail and no explanation of how this crisis was unforeseeable or not apparent before. 14


11
   Id.
12
   Id.
13
   https://www.uarts.edu/closing; https://www.inquirer.com/education/uarts-abruptly-closing-june-loss-
accreditation-20240531.html
14
   https://www.uarts.edu/closing

                                                         8
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        35.      Rather, the consequences of the University’s poor financial position were

foreseeable to University leadership, and the University’s abrupt announcement and lack of

explanation evidence that the University had simply waited for this inevitable outcome until the

last minute while failing to provide reasonable notice to students and faculty.

        36.      The announcement was made publicly on local news media before any

announcement was sent directly to students and faculty.

        37.      Before May 31, there had been no prior warning or suggestion by University

leadership that a closure was imminent.

        38.      Students and faculty were given no prior warning of the decision to close, which

was apparently made in a short amount of time by the most senior leadership of the University

without input from students, faculty, or other stakeholders.

        39.      On June 1, 2024, the MSCHE withdrew the University’s accreditation. 15

        40.      On June 3, 2024, Defendant canceled town halls with students, faculty, and staff a

mere 10 minutes before they were scheduled to start, simply reiterating that they have no

reasonable explanation for the abrupt closure of the University. 16

        41.      On June 4, 2024, University president Kerry Walk resigned. 17

        42.      Defendant’s employees were terminated on or before June 7, 2024, pursuant to the

closure.

        43.      Some employees were constructively terminated on May 31, 2024, the date of the

closure, because they were no longer assigned or scheduled to work.




15
   https://www.uarts.edu/about/accreditation
16
   https://6abc.com/post/university-arts-philadelphia-set-hold-town-hall-meetings/14904122/
17
   https://www.inquirer.com/education/uarts-philadelphia-president-kerry-walk-resignation-20240604.html

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       44.     The closure of the University leaves students with great uncertainty about the future

of their education and careers as well as severe financial hardship from having spent effort, time,

and money to attend the University and to live in the Philadelphia area while attending the

University and having to continue paying for living expenses while not earning their degree.

       45.     The closure of the University will cause students, faculty, and staff to lose health

insurance provided by or obtained through the University.

  IV. Plaintiffs’ Experience

       A. William Acker

       46.     Plaintiff William Acker is a citizen and resident of Pennsylvania.

       47.     Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       48.     Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       49.     Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       50.     Plaintiff and their family moved to Philadelphia in 2022 to attend the University.

       51.     Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       52.     An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       53.     Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.




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       54.     Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       55.     Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       56.     Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       57.     The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       58.     Plaintiff expended considerable effort, time, and money to attend the University.

       59.     Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       B. Michael Amendola

       60.     Plaintiff Michael Amendola is a citizen and resident of Pennsylvania.

       61.     Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       62.     Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       63.     Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       64.     Plaintiff moved to Philadelphia in 2022 to attend the University.




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       65.     Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       66.     An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       67.     Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       68.     Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       69.     Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       70.     Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       71.     The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       72.     Plaintiff expended considerable effort, time, and money to attend the University.

       73.     Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       C. Aiden Ankli

       74.     Plaintiff Aiden Ankli is a citizen and resident of Pennsylvania.

       75.     Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.



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       76.     Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       77.     Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       78.     Plaintiff moved to Philadelphia in 2022 to attend the University.

       79.     Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       80.     An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       81.     Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       82.     Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       83.     Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       84.     Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       85.     The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       86.     Plaintiff expended considerable effort, time, and money to attend the University.




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       87.     Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       D. Lyra Butler-Denman

       88.     Plaintiff Lyra Butler-Denman is a citizen and resident of Pennsylvania.

       89.     Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       90.     Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       91.     Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       92.     Plaintiff moved to Philadelphia in 2022 to attend the University.

       93.     Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       94.     An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       95.     Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       96.     Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       97.     Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.




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       98.     Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       99.     The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       100.    Plaintiff expended considerable effort, time, and money to attend the University.

       101.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       E. Tenara Calem

       102.    Plaintiff Tenara Calem is a citizen and resident of Pennsylvania.

       103.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       104.    Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       105.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       106.    Plaintiff considered other schools and degree programs, but ultimately chose

University of the Arts because of its unique programs and offerings that aligned with Plaintiff’s

educational and career goals.

       107.    Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.




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       108.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       109.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       110.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       111.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       112.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       113.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       114.    Plaintiff expended considerable effort, time, and money to attend the University.

       115.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       F. Tyler Catanella

       116.    Plaintiff Tyler Catanella is a citizen and resident of Pennsylvania.

       117.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       118.    Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.



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       119.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       120.    Plaintiff moved to Philadelphia in 2022 to attend the University.

       121.    Plaintiff considered other schools and degree programs, but ultimately chose

University of the Arts because of its unique programs and offerings that aligned with Plaintiff’s

educational and career goals.

       122.    Plaintiff attended the University to pursue a full-time teaching career, because of

its affiliation with the Pig Iron School, a theatre company that offers a unique Master of Fine Arts

in Devised Performance, and to be closer to their partner and family.

       123.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       124.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       125.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       126.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       127.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       128.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       129.    Plaintiff expended considerable effort, time, and money to attend the University.



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       130.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       G. Graham Cook

       131.    Plaintiff Graham Cook is a citizen and resident of Pennsylvania.

       132.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       133.    Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       134.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       135.    Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       136.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       137.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       138.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       139.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       140.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.



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       141.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       142.    Plaintiff expended considerable effort, time, and money to attend the University.

       143.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       H. Ryann Cooper

       144.    Plaintiff Ryann Cooper is a citizen of Maryland and resident of Pennsylvania.

       145.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       146.    Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       147.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       148.    Plaintiff considered other schools and degree programs, but ultimately chose

University of the Arts because of its unique programs and offerings that aligned with Plaintiff’s

educational and career goals.

       149.    Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       150.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.




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       151.     Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       152.     Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       153.     Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       154.     Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       155.     The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       156.     Plaintiff expended considerable effort, time, and money to attend the University.

       157.     Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

        I. Elizabeth Feinschreiber

       158.     Plaintiff Elizabeth Feinschreiber is a citizen of Massachusetts and resident of

Pennsylvania.

       159.     Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       160.     Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.




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       161.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       162.    Plaintiff considered other schools and degree programs, but ultimately chose

University of the Arts because of its unique programs and offerings that aligned with Plaintiff’s

educational and career goals.

       163.    Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       164.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       165.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       166.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       167.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       168.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       169.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       170.    Plaintiff expended considerable effort, time, and money to attend the University.




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       171.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       J. Francis Gormley

       172.    Plaintiff Francis Gormley is a citizen and resident of Pennsylvania.

       173.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       174.    Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       175.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       176.    Plaintiff moved to Philadelphia in 2022 to attend the University.

       177.    Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       178.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       179.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       180.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       181.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.




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       182.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       183.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       184.    Plaintiff expended considerable effort, time, and money to attend the University.

       185.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       K. Miranda Kramer

       186.    Plaintiff Miranda Kramer is a citizen and resident of Pennsylvania.

       187.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       188.    Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       189.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       190.    Plaintiff moved to Philadelphia in 2022 to attend the University.

       191.    Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       192.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.




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       193.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       194.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       195.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       196.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       197.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       198.    Plaintiff expended considerable effort, time, and money to attend the University.

       199.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       L. Arianna Olivieri

       200.    Plaintiff Arianna Olivieri is a citizen of Italy and a resident of Pennsylvania.

       201.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Arts in Museum Studies with a concentration in Audience

Engagement.

       202.    Plaintiff began their program in fall of 2023 and was set to finish the program in

summer 2024.




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       203.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       204.    Plaintiff obtained an F-1 student visa and moved to Philadelphia to attend the

University.

       205.    Plaintiff considered other schools and degree programs, but ultimately chose

University of the Arts because of its unique programs and offerings that aligned with Plaintiff’s

educational and career goals.

       206.    Plaintiff attended the University because the unique museum studies program was

well-regarded, required only a year to complete, and included coursework on diversity, equity,

inclusion, and accessibility.

       207.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       208.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       209.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       210.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       211.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       212.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.



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       213.    Plaintiff expended considerable effort, time, and money to attend the University.

       214.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

      M. Derek Smith

       215.    Plaintiff Derek Smith is a citizen of Rhode Island and resident of Pennsylvania.

       216.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Fine Arts in Devised Performance.

       217.    Plaintiff began their program in August 2022 and was set to finish the program in

December 2024.

       218.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       219.    Plaintiff considered other schools and degree programs, but ultimately chose

University of the Arts because of its unique programs and offerings that aligned with Plaintiff’s

educational and career goals.

       220.    Plaintiff attended the University because of its affiliation with the Pig Iron School,

a theatre company that offers a unique Master of Fine Arts in Devised Performance.

       221.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       222.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       223.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.



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       224.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       225.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       226.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       227.    Plaintiff expended considerable effort, time, and money to attend the University.

       228.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

       N. Eva Solano

       229.    Plaintiff Eva Solano is a citizen and resident of Pennsylvania.

       230.    Up until the date of the University’s closure, Plaintiff had been a student at the

University seeking a Master of Arts in Museum Studies with a concentration in Museum

Education.

       231.    Plaintiff began their program in fall of 2023 and was set to finish the program in

summer 2024.

       232.    Plaintiff had one semester left to complete the program when the University was

closed without notice on May 31, 2024.

       233.    Plaintiff considered other schools and degree programs, but ultimately chose

University of the Arts because of its unique programs and offerings that aligned with Plaintiff’s

educational and career goals.



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       234.    Plaintiff attended the University because the unique museum studies program was

well-regarded and required only a year to complete.

       235.    An important consideration in choosing the University was that the University was

accredited by a reputable accreditation agency.

       236.    Plaintiff knew that accreditation meant that the University was viable, reliable,

stable, and would meet accreditation standards.

       237.    Plaintiff reasonably relied on the University’s accreditation status when choosing

to attend the University.

       238.    Had the University not been accredited, or lost its accreditation status, Plaintiff

would not have enrolled in the University, or would have only paid substantially less in tuition.

       239.    Plaintiff will now need to find another university to which they can transfer their

credits and ultimately obtain their degree.

       240.    The loss of the University’s unique programs and offerings which attracted Plaintiff

to the University further make transferring to another university and continuing Plaintiff’s

educational and career goals difficult.

       241.    Plaintiff expended considerable effort, time, and money to attend the University.

       242.    Plaintiff has lost valuable opportunities and must now refocus their effort, time, and

money toward obtaining a degree from another university, which may have different degree

requirements, take more time, and cost more money.

   V. Plaintiffs and Class Members Have Been Injured

       243.    Plaintiffs and Class members entered into a contract with Defendant when they

enrolled in the University.




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        244.    The parties’ contract required that the University follow state regulations, remain

accredited, and meet the standards of accreditation, including its ability to remain financially

stable, promptly notify students of an impending closure, and provide students with a teach-out

plan to continue their education at another university.

        245.    Implied in the parties’ contract is a covenant of good faith and fair dealing, which

requires that Defendant execute its obligations under the contract with due care and consideration

for the other parties to the contract.

        246.    Implied in the parties’ contract is an agreement to comply with all laws and

regulations which are relevant to the purpose of the contract.

        247.    Implied in the parties’ contract is an agreement to do and perform whatever is

necessary to accomplish the purpose of the contract and to refrain from doing anything that is

injurious to another party’s right to receive the fruits of the contract.

        248.    Defendant’s obligations under the contract, including to remain financially stable,

promptly notify students of an impending closure, and provide students with a teach-out plan, were

intended to benefit Plaintiffs and Class members, Plaintiffs and Class members reasonably relied

on Defendant’s ability to meet its obligations, and Defendant’s obligations were material to

Plaintiffs and Class members choice to enroll in the University.

        249.    The University held itself out as a viable, reliable, stable university which could

follow state regulations, remain accredited, and meet the standards of accreditation, including its

ability to remain financially stable, promptly notify students of an impending closure, and provide

students with a teach-out plan to continue their education at another university.

        250.    Defendant knew that it was financially unstable and that it could not follow state

regulations, remain accredited, and meet the standards of accreditation.



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       251.      Defendant intended that students rely on its misrepresentations and omissions when

choosing to enroll in the University.

       252.      The facts mispresented, concealed, and omitted by Defendant were material

because a reasonable person would have considered them to be important in deciding whether to

enroll in the University.

       253.      Defendant knew or should have known that the facts mispresented, concealed, and

omitted were material to Plaintiffs and Class members.

       254.      Defendant had a duty to inform Plaintiffs and Class members that it was financially

unstable and that it could not follow state regulations, remain accredited, and meet the standards

of accreditation because Defendant had superior knowledge about such circumstances, and

Plaintiffs and Class members could not reasonably have been expected to discover such

circumstances through reasonable diligence before enrolling in the University.

       255.      Plaintiffs and Class members reasonably relied on Defendant’s misrepresentations

and omissions when choosing to enroll in the University.

       256.      Defendant induced Plaintiffs and Class members to enroll in the University with

knowledge that it could not follow state regulations, remain accredited, and meet the standards of

accreditation.

       257.      Plaintiffs and Class members paid tuition to Defendant, declined employment and

other opportunities, or declined enrollment at other institutions so that they could attend the

University and obtain the benefits guaranteed under the contract.

       258.      Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it failed to notify students, staff, its accrediting agency, or government

regulators of its financial instability and impending closure.



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       259.    Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it failed to create a teach-out plan for enrolled students, despite knowledge of

its financial instability and impending closure.

       260.    Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it closed the University with no notice, leaving students with no plan to transfer

credits or attend another university.

       261.    Defendant’s breach of the parties’ contract directly injured Plaintiffs and Class

members, who have spent considerable time and money seeking a degree from the University but

now cannot continue their education at the University or transfer to another university within a

reasonable time and for a reasonable cost.

       262.    Plaintiffs and Class members paid tuition, turned down other opportunities, and

provided Defendant with other benefits, but did not receive the promised benefits in return.

       263.    Plaintiffs and Class members have not materially breached the contract, have

complied with all obligations under the contract, or otherwise have been excused from

performance of said obligations as a result of Defendant’s conduct described herein.

       264.    As a result of Defendant’s unlawful conduct, Plaintiff and Class members are

entitled to statutory, compensatory, incidental, consequential, and punitive damages and

restitution, including, inter alia, (1) reimbursement of all tuition paid to the University during the

time that it knew or should have known that could not comply with state law and meet its

accreditation standards, (2) reimbursement of all payments made to the University for services not

yet received, including tuition, meal plans, and housing, (3) reimbursement of all payments made

in reliance on the University’s misrepresentations, concealment, and omissions of material facts

related to its legal compliance and accreditation status, including textbooks, school supplies,



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moving expenses, living expenses, and student loan, (4) reimbursement of all payments made as a

consequence of the University’s closure, including university application fees and moving

expenses, (5) such other and further relief as this Court may deem just, equitable, or proper.

                                     CLASS ALLEGATIONS

       265.      This action is brought as a class action under Fed. R. Civ. P. 23.

       266.      The Class is defined as follows:

                 All students who were enrolled in The University of the Arts as of
                 May 31, 2024.

       267.      The Class definition may be modified based upon discovery and further

investigation.

       268.      Numerosity: The Class is so numerous that joinder of all members is impracticable.

The Class may be ascertained through discovery of records from Defendant and third parties.

       269.      Commonality: There are questions of law or fact common to the Class, including,

without limitation, whether Defendant engaged in unlawful conduct that entitles Plaintiffs and

Class members to relief.

       270.      Typicality: Plaintiffs’ claims are typical of the claims of Class members. Plaintiffs

and Class members were injured and suffered damages in substantially the same manner, have the

same claims against Defendant relating to the same course of conduct, and are entitled to relief

under the same legal theories.

       271.      Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class.

Plaintiffs’ interests are aligned with the interests of the Class. Plaintiffs’ counsel are experienced

in the prosecution of complex class actions, including actions with issues, claims, and defenses

similar to the present case.




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          272.   Predominance and superiority: Questions of law or fact common to the Class

predominate over any questions affecting individual members because all claims arise out of the

same unlawful conduct by Defendant and depend on the same determinations of law and fact. A

class action is superior to other available methods for the fair and efficient adjudication of this case

because individual joinder of all Class members is impracticable and the amount at issue for each

Class member would not justify the cost of litigating individual claims. Should individual Class

members be required to bring separate actions, this Court would be confronted with a multiplicity

of lawsuits burdening the court system while also creating the risk of inconsistent rulings and

contradictory judgments. In contrast to proceeding on a case-by-case basis, in which inconsistent

results will magnify the delay and expense to all parties and the court system, this class action

presents far fewer management difficulties while providing unitary adjudication, economies of

scale and comprehensive supervision by a single court. There are no difficulties that are likely to

be encountered in the management of this action that would preclude its maintenance as a class

action.

          273.   Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(3).

          274.   Defendant’s unlawful conduct applies generally to the Class, thereby making

appropriate final equitable relief with respect to the Class as a whole.

          275.   Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(2).

                                      CAUSES OF ACTION

                                            COUNT I
                                   BREACH OF CONTRACT
                              (on behalf of Plaintiffs and the Class)



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          276.   All preceding paragraphs are incorporated by reference as though fully set forth

herein.

          277.   Plaintiffs and Class members entered into a contract with Defendant when they

enrolled in the University.

          278.   The parties’ contract required that the University follow state regulations, remain

accredited, and meet the standards of accreditation, including its ability to remain financially

stable, promptly notify students of an impending closure, and provide students with a teach-out

plan to continue their education at another university.

          279.   Implied in the parties’ contract is a covenant of good faith and fair dealing, which

requires that Defendant execute its obligations under the contract with due care and consideration

for the other parties to the contract.

          280.   Implied in the parties’ contract is an agreement to comply with all laws and

regulations which are relevant to the purpose of the contract.

          281.   Implied in the parties’ contract is an agreement to do and perform whatever is

necessary to accomplish the purpose of the contract and to refrain from doing anything that is

injurious to another party’s right to receive the fruits of the contract.

          282.   Defendant’s obligations under the contract, including to remain financially stable,

promptly notify students of an impending closure, and provide students with a teach-out plan, were

intended to benefit Plaintiffs and Class members, Plaintiffs and Class members reasonably relied

on Defendant’s ability to meet its obligations, and Defendant’s obligations were material to

Plaintiffs and Class members choice to enroll in the University.




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       283.    Plaintiffs and Class members paid tuition to Defendant, declined employment and

other opportunities, or declined enrollment at other institutions so that they could attend the

University and obtain the benefits guaranteed under the contract.

       284.    Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it failed to notify students, staff, its accrediting agency, or government

regulators of its financial instability and impending closure.

       285.    Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it failed to create a teach-out plan for enrolled students, despite knowledge of

its financial instability and impending closure.

       286.    Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it closed the University with no notice, leaving students with no plan to transfer

credits or attend another university.

       287.    Defendant’s breach of the parties’ contract directly injured Plaintiffs and Class

members, who have spent considerable time and money seeking a degree from the University but

now cannot continue their education at the University or transfer to another university within a

reasonable time and for a reasonable cost.

       288.    Plaintiffs and Class members paid tuition, turned down other opportunities, and

provided Defendant with other benefits, but did not receive the promised benefits in return.

       289.    Plaintiffs and Class members have not materially breached the contract, have

complied with all obligations under the contract, or otherwise have been excused from

performance of said obligations as a result of Defendant’s conduct described herein.




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          290.   Defendant’s conduct was reckless, wanton, malicious, intentional, and with gross

disregard for the rights of Plaintiffs and Class members, thereby entitling Plaintiffs and Class

members to punitive damages.

          291.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

members have been injured and sustained damages.

                                             COUNT II
                              BREACH OF IMPLIED CONTRACT
                               (on behalf of Plaintiffs and the Class)

          292.   All preceding paragraphs are incorporated by reference as though fully set forth

herein.

          293.   Plaintiffs and Class members entered into an implied contract with Defendant when

they enrolled in the University.

          294.   The parties’ contract required that the University follow state regulations, remain

accredited, and meet the standards of accreditation, including its ability to remain financially

stable, promptly notify students of an impending closure, and provide students with a teach-out

plan to continue their education at another university.

          295.   Implied in the parties’ contract is a covenant of good faith and fair dealing, which

requires that Defendant execute its obligations under the contract with due care and consideration

for the other parties to the contract.

          296.   Implied in the parties’ contract is an agreement to comply with all laws and

regulations which are relevant to the purpose of the contract.

          297.   Implied in the parties’ contract is an agreement to do and perform whatever is

necessary to accomplish the purpose of the contract and to refrain from doing anything that is

injurious to another party’s right to receive the fruits of the contract.



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       298.    The contract was implied by the parties conduct, including Defendant’s

representations that the University would follow state regulations, remain accredited, and meet the

standards of accreditation, including its ability to remain financially stable, promptly notify

students of an impending closure, and provide students with a teach-out plan to continue their

education at another university and Plaintiff’s enrollment and payment of tuition in reliance of

Defendant’s representations.

       299.    Plaintiff’s reliance on Defendant’s representations was reasonable and foreseeable

because a reasonable person would rely on a university’s representations concerning its viability

and compliance when choosing to enroll and pay tuition.

       300.    Defendant’s obligations under the contract, including to remain financially stable,

promptly notify students of an impending closure, and provide students with a teach-out plan, were

intended to benefit Plaintiffs and Class members, Plaintiffs and Class members reasonably relied

on Defendant’s ability to meet its obligations, and Defendant’s obligations were material to

Plaintiffs and Class members choice to enroll in the University.

       301.    Plaintiffs and Class members paid tuition to Defendant, declined employment and

other opportunities, or declined enrollment at other institutions so that they could attend the

University and obtain the benefits guaranteed under the contract.

       302.    Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it failed to notify students, staff, its accrediting agency, or government

regulators of its financial instability and impending closure.

       303.    Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it failed to create a teach-out plan for enrolled students, despite knowledge of

its financial instability and impending closure.



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          304.   Defendant breached the parties’ contract, including the covenant of good faith and

fair dealing, when it closed the University with no notice, leaving students with no plan to transfer

credits or attend another university.

          305.   Defendant’s breach of the parties’ contract directly injured Plaintiffs and Class

members, who have spent considerable time and money seeking a degree from the University but

now cannot continue their education at the University or transfer to another university within a

reasonable time and for a reasonable cost.

          306.   Plaintiffs and Class members paid tuition, turned down other opportunities, and

provided Defendant with other benefits, but did not receive the promised benefits in return.

          307.   Plaintiffs and Class members have not materially breached the contract, have

complied with all obligations under the contract, or otherwise have been excused from

performance of said obligations as a result of Defendant’s conduct described herein.

          308.   Defendant’s conduct was reckless, wanton, malicious, intentional, and with gross

disregard for the rights of Plaintiffs and Class members, thereby entitling Plaintiffs and Class

members to punitive damages.

          309.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

members have been injured and sustained damages.

                                            COUNT III
                                    UNJUST ENRICHMENT
                               (on behalf of Plaintiffs and the Class)

          310.   All preceding paragraphs are incorporated by reference as though fully set forth

herein.

          311.   The University held itself out as a viable, reliable, stable university which could

follow state regulations, remain accredited, and meet the standards of accreditation, including its



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ability to remain financially stable, promptly notify students of an impending closure, and provide

students with a teach-out plan to continue their education at another university.

       312.    Defendant’s obligations, including to remain financially stable, promptly notify

students of an impending closure, and provide students with a teach-out plan, were intended to

benefit Plaintiffs and Class members, Plaintiffs and Class members reasonably relied on

Defendant’s ability to meet its obligations, and Defendant’s obligations were material to Plaintiffs

and Class members choice to enroll in the University.

       313.    Plaintiffs and Class members paid tuition to Defendant, declined employment and

other opportunities, or declined enrollment at other institutions so that they could attend the

University and obtain the benefits guaranteed under the contract.

       314.    Defendant failed to notify students, staff, its accrediting agency, or government

regulators of its financial instability and impending closure.

       315.    Defendant failed to create a teach-out plan for enrolled students, despite knowledge

of its financial instability and impending closure.

       316.    Defendant closed the University with no notice, leaving students with no plan to

transfer credits or attend another university.

       317.    Defendant’s failure to meet its obligations directly injured Plaintiffs and Class

members, who have spent considerable time and money seeking a degree from the University but

now cannot continue their education at the University or transfer to another university within a

reasonable time and for a reasonable cost.

       318.    Plaintiffs and Class members paid tuition, turned down other opportunities, and

provided Defendant with other benefits, but did not receive the promised benefits in return.

       319.    Defendant knowingly and willingly accepted and enjoyed these benefits.



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          320.   Defendant’s retention of these benefits would be inequitable because Defendant

obtained benefits to the detriment of Plaintiffs and Class members when Plaintiffs and Class

members did not obtain their promised benefits.

          321.   Plaintiffs and Class members have not materially breached the contract, have

complied with all obligations under the contract, or otherwise have been excused from

performance of said obligations as a result of Defendant’s conduct described herein.

          322.   Defendant’s conduct was reckless, wanton, malicious, intentional, and with gross

disregard for the rights of Plaintiffs and Class members, thereby entitling Plaintiffs and Class

members to punitive damages.

          323.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

members are entitled to restitution.

                                            COUNT IV
                                              FRAUD
                               (on behalf of Plaintiffs and the Class)

          324.   All preceding paragraphs are incorporated by reference as though fully set forth

herein.

          325.   The University held itself out as a viable, reliable, stable university which could

follow state regulations, remain accredited, and meet the standards of accreditation, including its

ability to remain financially stable, promptly notify students of an impending closure, and provide

students with a teach-out plan to continue their education at another university.

          326.   Defendant knew that it was financially unstable and that it could not follow state

regulations, remain accredited, and meet the standards of accreditation.

          327.   Defendant intended that students rely on its misrepresentations and omissions when

choosing to enroll in the University.



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       328.      The facts mispresented, concealed, and omitted by Defendant were material

because a reasonable person would have considered them to be important in deciding whether to

enroll in the University.

       329.      Defendant knew or should have known that the facts mispresented, concealed, and

omitted were material to Plaintiffs and Class members.

       330.      Defendant had a duty to inform Plaintiffs and Class members that it was financially

unstable and that it could not follow state regulations, remain accredited, and meet the standards

of accreditation because Defendant had superior knowledge about such circumstances, and

Plaintiffs and Class members could not reasonably have been expected to discover such

circumstances through reasonable diligence before enrolling in the University.

       331.      Plaintiffs and Class members reasonably relied on Defendant’s misrepresentations

and omissions when choosing to enroll in the University.

       332.      Defendant induced Plaintiffs and Class members to enroll in the University with

knowledge that it could not follow state regulations, remain accredited, and meet the standards of

accreditation.

       333.      Defendant failed to notify students, staff, its accrediting agency, or government

regulators of its financial instability and impending closure.

       334.      Defendant failed to create a teach-out plan for enrolled students, despite knowledge

of its financial instability and impending closure.

       335.      Defendant closed the University with no notice, leaving students with no plan to

transfer credits or attend another university.

       336.      Defendant’s misrepresentations and omissions directly injured Plaintiffs and Class

members, who have spent considerable time and money seeking a degree from the University but



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now cannot continue their education at the University or transfer to another university within a

reasonable time and for a reasonable cost.

        337.   Plaintiffs and Class members paid tuition, turned down other opportunities, and

provided Defendant with other benefits, but did not receive the promised benefits in return.

        338.   Plaintiffs and Class members would not have enrolled in the University if they

knew that it was financially unstable and that it could not follow state regulations, remain

accredited, and meet the standards of accreditation, or they would have only paid substantially less

in tuition.

        339.   Defendant acted in bad faith and with intent to defraud because:

               a.      Defendant held itself out as a viable, reliable, stable university which could
                       follow state regulations, remain accredited, and meet the standards of
                       accreditation with gross disregard for Plaintiffs and Class members’ rights
                       and wellbeing;

               b.      Defendant accepted and enrolled Plaintiffs and Class members with intent
                       to not operated as a viable, reliable, stable university which could follow
                       state regulations, remain accredited, and meet the standards of
                       accreditation; and

               c.      Defendant sought to unjustly enrich itself to the detriment of Plaintiffs and
                       Class members.

        340.   Defendant’s conduct was reckless, wanton, malicious, intentional, and with gross

disregard for the rights of Plaintiffs and Class members, thereby entitling Plaintiffs and Class

members to punitive damages.

        341.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

members have been injured and sustained damages.

                                   COUNT V
     VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                      CONSUMER PROTECTION LAW
                          73 Pa. Stat. § 201-1, et seq.
                     (on behalf of Plaintiffs and the Class)

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          342.   All preceding paragraphs are incorporated by reference as though fully set forth

herein.

          343.   The University held itself out as a viable, reliable, stable university which could

follow state regulations, remain accredited, and meet the standards of accreditation, including its

ability to remain financially stable, promptly notify students of an impending closure, and provide

students with a teach-out plan to continue their education at another university.

          344.   Defendant knew that it was financially unstable and that it could not follow state

regulations, remain accredited, and meet the standards of accreditation.

          345.   Defendant intended that students rely on its misrepresentations and omissions when

choosing to enroll in the University.

          346.   The facts mispresented, concealed, and omitted by Defendant were material

because a reasonable person would have considered them to be important in deciding whether to

enroll in the University.

          347.   Defendant knew or should have known that the facts mispresented, concealed, and

omitted were material to Plaintiffs and Class members.

          348.   Defendant had a duty to inform Plaintiffs and Class members that it was financially

unstable and that it could not follow state regulations, remain accredited, and meet the standards

of accreditation because Defendant had superior knowledge about such circumstances, and

Plaintiffs and Class members could not reasonably have been expected to discover such

circumstances through reasonable diligence before enrolling in the University.

          349.   Plaintiffs and Class members reasonably relied on Defendant’s misrepresentations

and omissions when choosing to enroll in the University.




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        350.     Defendant induced Plaintiffs and Class members to enroll in the University with

knowledge that it could not follow state regulations, remain accredited, and meet the standards of

accreditation.

        351.     Defendant failed to notify students, staff, its accrediting agency, or government

regulators of its financial instability and impending closure.

        352.     Defendant failed to create a teach-out plan for enrolled students, despite knowledge

of its financial instability and impending closure.

        353.     Defendant closed the University with no notice, leaving students with no plan to

transfer credits or attend another university.

        354.     Defendant’s misrepresentations and omissions directly injured Plaintiffs and Class

members, who have spent considerable time and money seeking a degree from the University but

now cannot continue their education at the University or transfer to another university within a

reasonable time and for a reasonable cost.

        355.     Plaintiffs and Class members paid tuition, turned down other opportunities, and

provided Defendant with other benefits, but did not receive the promised benefits in return.

        356.     Plaintiffs and Class members would not have enrolled in the University if they

knew that it was financially unstable and that it could not follow state regulations, remain

accredited, and meet the standards of accreditation, or they would have only paid substantially less

in tuition.

        357.     Defendant acted in bad faith and with intent to defraud because:

                 a.     Defendant held itself out as being a viable, reliable, stable university which
                        could follow state regulations, remain accredited, and meet the standards of
                        accreditation with gross disregard for Plaintiffs and Class members’ rights
                        and wellbeing;




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                 b.     Defendant accepted and enrolled Plaintiffs and Class members with intent
                        to not operated as a viable, reliable, stable university which could follow
                        state regulations, remain accredited, and meet the standards of
                        accreditation; and

                 c.     Defendant sought to unjustly enrich itself to the detriment of Plaintiffs and
                        Class members.

       358.      Defendant’s conduct constitutes deceptive and unfair trade practices within the

meaning of the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 Pa. Stat. §

201-1, et seq.

       359.      Defendant’s conduct was reckless, wanton, malicious, intentional, and with gross

disregard for the rights of Plaintiffs and Class members, thereby entitling Plaintiffs and Class

members to punitive damages.

       360.      As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

members have been injured and sustained damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, the following relief is requested:

                 a.     An order certifying this action as a class action.

                 b.     An award of statutory, compensatory, incidental, consequential, and
                        punitive damages and restitution to the extent permitted by law in an amount
                        to be proven at trial.

                 c.     An order enjoining Defendant’s unlawful conduct.

                 d.     An award of attorneys’ fees, expert witness fees, costs, and Class
                        representative incentive awards as provided by applicable law.

                 e.     An award of interest as provided by law, including pre-judgment and post-
                        judgment interest.

                 f.     Such other and further relief as this Court may deem just, equitable, or
                        proper.

                                         JURY DEMAND

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       Trial by jury is demanded.



Dated: June 6, 2024                        Respectfully submitted,

                                           /s/ Nicholas J. Elia

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